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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                 )
                                          )
                        Plaintiff,        )
                                          )
      vs.                                 )                            Case No. 06-40151-JAR
                                          )
F. JEFFREY MILLER,                        )
STEPHEN W. VANATTA,                       )
HALLIE IRVIN, AND                         )
SANDRA JO HARRIS,                         )
                                          )
                        Defendants.       )
__________________________________________)

                                    MEMORANDUM AND ORDER

        Defendant Stephen W. Vanatta filed a Motion to Dismiss (Doc. 236) for Speedy Trial

Clock Violation, claiming that more 230 days has lapsed.

        Generally, the Speedy Trial Act, 18 U.S.C. 3161, requires that a defendant be brought to

trial within seventy days of the filing of the indictment or from the date the defendant first

appears before a judicial officer.1 “The dual purpose of the Speedy Trial Act is to protect a

defendant's constitutional right to a speedy indictment and trial, and to serve the public interest

in bringing prompt criminal proceedings.”2 The Speedy Trial Act, title 18, section 3161(h)(1)(F)

of the United States Code, excludes from the seventy day requirement, periods of “delay

resulting from any pretrial motion, from the filing of the motion through the conclusion of the




        1
         18 U.S.C. § 3161(c)(1); United States v. Mora, 135 F.3d 1351, 1354 (10th Cir. 1998).
        2
          United States v. Saltzman, 948 F.2d 1087, 1090 (10th Cir. 1993) (citing United States v. Noone, 913 F.2d
20, 28 (1st Cir. 1990), cert. denied, 500 U.S. 906 (1991)).
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hearing on, or other prompt disposition of, such motion.”3 Under section 3161(h)(1)(J), periods

of “delay reasonably attributable to any period, not to exceed thirty days, during which any

proceeding concerning the defendant is actually under advisement by the court” are also

excluded.4 The Supreme Court has reasoned that subsection (F) excludes the period between

filing a motion and the conclusion of the hearing of the motion, after which, the district court has

thirty days to decide the motion.5 Where a motion does not require a hearing and can be decided

on the papers, the maximum period of delay is thirty days.6 Accordingly, where a motion “does

not require a hearing, the Act excludes time through the period of its prompt disposition, but

only if that period does not exceed thirty days from the date the motion is taken under

advisement.”7

        After reviewing the briefs provided and the Speedy Trial Clock calculations, the Court

finds that not more than seventy days has expired from defendant’s trial clock. Accordingly,

defendant’s motion to dismiss is denied.

        IT IS THEREFORE ORDERED BY THE COURT THAT defendant’s Motion to

Dismiss (Doc. 236) is denied.

        IT IS SO ORDERED.

        Dated this 6th day of December 2008.



        3
         18 U.S.C. § 3161(h)(1)(F).
        4
         Id. § 3161(h)(1)(J).
        5
          Henderson v. United States, 476 U.S. 321, 329 (1986); United States v. Williams, 511 F.3d 1044, 1048
(10th Cir. 2007).
        6
         Williams, 511 F.3d at 1048 (citing Henderson, 476 U.S. at 329).
        7
         Id.

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Dated: December 8, 2008
                                           S/ Julie A. Robinson
                                          JULIE A. ROBINSON
                                          UNITED STATES DISTRICT JUDGE




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